Case 2:05-cr-20091-SH|\/| Document 10 Filed 05/23/05 Page 1 of 2 Page|D 12

IN THE UNITED sTATEs DISTRICT coURT ‘ " - w h
FoR THE WESTERN DISTRICT 0F TENNESSEE _` _ `
WESTERN DIVIsIoN § § §` 33 § §i'# '\

 

 

UNITED STATES OF AMERICA

V.

05-20091-B

SIDNEY THURMAN

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on U/IM,{ O/\)j, 0/1)¢7(15 , the United States Attorney

for this district appeared on behalf of the governn'ght, and the defendant appeared in person and With
counsel:

NAME W G‘JM{/\ (/;WD) whoisRetained/AM

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a State prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

law //. é/Mf

UNITED STATES MAGISTRATE JUDGE

__....__.-~ -_._.. 1

 

CHARGES: 18:922; 21:841;

U. S. Attomey assigned to Case: M. McCusker

Age: 3 Q'

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arm Hule 53 anal/or 32(|:)) FR\.§rP on : § 2

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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PDA

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Honorable J. Breen
US DISTRICT COURT

